972 F.2d 340
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Warren David LEWIS, Plaintiff-Appellant,v.Officer T. M. ARTHURN;  John Doe, Detective, Rich. P.D.;John Doe, II, Assistant Commonwealth Attorney,Defendants-Appellees.
    No. 92-6647.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 20, 1992Decided:  August 4, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Richard L. Williams, Senior District Judge.  (CA-92-29-3)
      Warren David Lewis, Appellant Pro Se.
      E.D.Va.
      Affirmed.
      Before MURNAGHAN, HAMILTON, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Warren David Lewis appeals from the district court's order dismissing his complaint without prejudice for failure to comply with a court order.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Lewis v. Arthurn, No. CA-92-29-3 (E.D. Va.  May 29, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    